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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                     )              CASE NO. 1:06cr00338-011
                                              )
       Plaintiff,                             )              JUDGE: JAMES S. GWIN
                                              )
vs.                                           )              ORDER ADOPTING REPORT
                                              )              AND RECOMMENDATION AND
LUCIEN RAY,                                   )              REFERRING CASE
                                              )
       Defendant.                             )



       Defendant appeared before United States Magistrate Judge Nancy Vecchiarelli on August

17, 2011, for an initial appearance regarding a supervised release violation. A Report and

Recommendation was entered on August 18, 2011, recommending that, in light of the state

charges, further proceedings concerning the new law violation be continued until such time as

the state charges are resolved.

       The Court adopts the Report and Recommendation. Counsel for the parties and the

supervising officer are instructed to advise the Court at such time as the state case has been

resolved.

       Additionally, the Court refers this case to United States Magistrate Judge George J.

Limbert to, upon resolution of the state charges, conduct appropriate proceedings, except
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sentencing, and to issue a Report and Recommendation concerning the supervised release

violation.

       IT IS SO ORDERED.



Dated: August 25, 2011                            s/ James S. Gwin
                                                  JAMES S. GWIN
                                                  UNITED STATES DISTRICT JUDGE
